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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
               Plaintiff,                   )
                                            )
v.                                          ) Case No. 4:05CR85 HEA
                                            )
SCOTT WILLIAMS,                             )
                                            )
               Defendant.                   )


                     OPINION, MEMORANDUM AND ORDER

         This matter is before the Court on Defendant Williams’ Motion to Dismiss,

[No. 140]. The Court referred this matter to United States Magistrate Judge David

Noce for a report and recommendation pursuant to 28 U.S.C. § 636(b).

         On July 11, 2005, an evidentiary hearing was held. Neither party offered any

evidence. Judge Noce filed his recommendation on July 22, 2005 that Defendant’s

motion be denied. No objections to the report and recommendation have been

filed.

         The Court has considered Judge Noce’s reasoning for his recommendation

and agrees with Judge Noce’s solid conclusions.

         Accordingly,

         IT IS HEREBY ORDERED that the Motion to Dismiss filed by Defendant
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Williams, [Nos. 140], is denied.

      Dated this 9th day of August, 2005.



                                      ___________________________________
                                          HENRY EDWARD AUTREY
                                      UNITED STATES DISTRICT JUDGE




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